     Case 2:21-cv-00114-TOR    ECF No. 84    filed 12/15/23   PageID.985 Page 1 of 17




 1 Michael J. Scimone*
   OUTTEN & GOLDEN LLP
   685 Third Avenue, 25th Floor
 2 New York, NY 10017
   Telephone: (212) 245-1000
 3 Fax: (646) 509-2060
   mscimone@outtengolden.com
 4 Ryan Cowdin*
   1225 New York Ave. NW
 5 Suite 1200B
   Washington, DC 20005
 6 Telephone: (202) 847-4400
   Fax: (202) 847-4410
 7 rcowdin@outtengolden.com

 8
   [Additional attorneys listed on following page]
 9 Attorneys for Plaintiff

10

11                IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF WASHINGTON
12

13    JUSTIN BAKER, on behalf of himself             Case No. 21-cv-00114-TOR
      and all others similarly situated,
14
                               Plaintiff,            STIPULATION AND ORDER
15                                                   CONCERNING PRODUCTION
      v.                                             OF ELECTRONICALLY
16                                                   STORED INFORMATION
      UNITED PARCEL SERVICE, INC., a
17    Delaware Corporation, and UNITED
      PARCEL SERVICE, INC., an Ohio
18    corporation,

19                             Defendants.

20

21
           STIPULATION AND ORDER CONCERNING PRODUCTION OF
22              ELECTRONICALLY STORED INFORMATION - 1
     Case 2:21-cv-00114-TOR    ECF No. 84   filed 12/15/23   PageID.986 Page 2 of 17




 1 Thomas G. Jarrard (WSBA #39774)
   LAW OFFICE OF THOMAS G. JARRARD, PLLC
 2 1020 N. Washington St.,
   Spokane, WA 99201
 3 Telephone: (425) 239-7290
   tjarrard@att.net
 4
   Matthew Z. Crotty (WSBA #39284)
 5 RIVERSIDE LAW GROUP PLLC
   905 W. Riverside Ave., Suite 404
 6 Spokane, WA 99201
   Telephone: (509) 850-7011
 7 mzc@riverside-law.com

 8 R. Joseph Barton*
   BARTON & DOWNES LLP
 9 1633 Connecticut Ave. NW, Suite 200
   Washington D.C. 20009
10 Telephone: (202) 734-7046
   jbarton@bartondownes.com
11
   Peter Romer-Friedman*
12 PETER ROMER-FRIEDMAN LAW PLLC
   1629 K Street, NW, Suite 300
13 Washington, DC 20006
   Telephone: (718) 938-6132
14 peter@guptawessler.com

15 Robert D Friedman*
   GUPTA WESSLER PLLC
16 2001 K Street NW, Suite 850
   Washington, DC 20006
17 Telephone: (914) 588-4713
   robert@guptawessler.com
18
   * admitted pro hac vice
19
   Attorneys for Plaintiff and the Proposed Class
20

21

22
           STIPULATION AND ORDER CONCERNING PRODUCTION OF
                ELECTRONICALLY STORED INFORMATION - 2
      Case 2:21-cv-00114-TOR     ECF No. 84    filed 12/15/23   PageID.987 Page 3 of 17




 1               WHEREAS, counsel for Plaintiff and Defendants (collectively, the

 2 “Parties,” and each, a “Party”) have met and conferred regarding potential

 3 discovery of electronically stored information (“ESI”);

 4               WHEREAS, the Parties have reached agreement on certain issues

 5 regarding such discovery;

 6                WHEREAS, without waiver of any objections to any discovery that

 7 has been served or might be served in the future by any Party, the Parties now enter

 8 into this Stipulation and [Proposed] Order Concerning Production of Electronically

 9 Stored Information (“Order”) reflecting their agreement;

10         IT IS HEREBY ORDERED that:

11         1.     All Parties are bound by and subject to the terms of this Order.

12         2.    Definitions.

13               a.     “Discovery Material” is defined as all products of discovery

14 and all information derived there from, including, but not limited to documents,

15 objects and things, deposition testimony, interrogatory/request for admission

16 responses, and any copies, excerpts or summaries thereof, produced by any Party

17 in the above-captioned matter.

18               b.     Plaintiff and Defendants, as well as legal counsel, are referred

19 to as the “Parties” solely for the purposes of this Protocol.

20         3.    Cooperation. The Parties shall conduct discovery in a cooperative

21 manner, including, without limitation, by reasonably drafting discovery requests

22
            STIPULATION AND ORDER CONCERNING PRODUCTION OF
                 ELECTRONICALLY STORED INFORMATION - 3
      Case 2:21-cv-00114-TOR      ECF No. 84    filed 12/15/23   PageID.988 Page 4 of 17




 1 and responses in accordance with Fed R. Civ. P. 1 and 26(g)(1); and producing ESI

 2 in accordance with Fed R. Civ. P. 34; and by meeting and conferring in good faith

 3 on topics such as identification of custodians of relevant ESI, potentially relevant

 4 data sources, search methodologies, and such other issues as may arise during the

 5 course of discovery.

 6         4.     Search Methodology. The Parties may employ one or more search

 7 methodologies, including electronic search and retrieval technologies, to identify

 8 potentially relevant ESI. The Parties will meet and confer and attempt in good faith

 9 to reach agreement regarding the method of searching and, if applicable, the words,

10 terms, and phrases to be searched; and the custodians and non-custodial sources

11 from whom ESI will be collected and searched.

12         5.     Deduplication. The Parties shall make reasonable efforts to

13 deduplicate ESI. ESI shall be deduplicated horizontally across custodians. ESI

14 will be considered duplicative if it has the same content including metadata. For

15 example, duplicates would include copies of the same electronic file saved on the

16 local hard drives and/or network shared drives of multiple custodians, even if

17 different instances of the file reflect different dates created.

18         6.     Email Threading. In order to reduce the volume of entirely

19 duplicative content within email threads, the Parties may utilize “email thread

20 suppression.” As used in this agreement, email thread suppression means reducing

21 duplicative production of email threads by producing the most recent email

22
            STIPULATION AND ORDER CONCERNING PRODUCTION OF
                 ELECTRONICALLY STORED INFORMATION - 4
      Case 2:21-cv-00114-TOR    ECF No. 84     filed 12/15/23   PageID.989 Page 5 of 17




 1 containing the thread of emails, as well as all attachments within the thread, and

 2 excluding emails constituting exact duplicates of emails within the produced string.

 3 For purposes of this paragraph, only email messages in which the parent document,

 4 senders and recipients, and all attachments are exactly the same will be considered

 5 duplicates. In the event of an email is withheld on privilege grounds, all members

 6 of the thread must be reviewed independently for privilege and logged as

 7 applicable.

 8         7.    Privilege Logs And Redaction. If utilizing email threading, an email

 9 thread for which a Party claims a privilege may be logged in a single entry. The

10 Parties agree that the following documents need not be included on a privilege log:

11               a.    Communications between the Parties and counsel (including

12                     internal communications within a law firm or a legal

13                     department of a corporation) on and after the filing of this

14                     lawsuit and before the lawsuit in anticipation of litigation

15                     regarding the litigation or litigation strategy.

16               b.    Work product created by or for trial counsel in this matter after

17                     commencement of this action.

18         8.    Production Format For ESI.

19               a.    General Provisions. Unless the Parties agree to a different

20 format, documents should be produced with TIFF images and named according to

21 the Bates number of the corresponding TIFF image. Each *.tiff file should be

22
           STIPULATION AND ORDER CONCERNING PRODUCTION OF
                ELECTRONICALLY STORED INFORMATION - 5
      Case 2:21-cv-00114-TOR    ECF No. 84    filed 12/15/23   PageID.990 Page 6 of 17




 1 assigned a unique name matching the Bates number of the corresponding image.

 2 The Bates number should be consistent across the production, contain no special

 3 characters, and be numerically sequential within a given document. Attachments

 4 to documents should be assigned Bates numbers that directly follow in sequential

 5 order the Bates numbers on the documents to which they were attached. If a Bates

 6 number or set of Bates numbers is skipped, the skipped number or set of numbers

 7 should be noted, for example with a placeholder. All images should be provided in

 8 single-page, Group IV TIFF with a resolution of 300 DPI. Bates numbers and

 9 confidentiality designations should be electronically branded on each produced

10 *.tiff image. These TIFF images should be provided in a separate folder and the

11 number of TIFF files per folder should be limited to 1,000 files.

12               b.    Document Text. All unredacted documents should be provided

13 with complete document-level extracted text files. In the event a document

14 contains text which is to be redacted, OCR text files should be provided for any

15 un-redacted portions of the documents. Document-level OCR text files should be

16 provided for any unredacted portions of redacted documents and for all hard copy

17 scanned documents. The extracted full text and/or OCR text for all deliverables

18 should be in separate document-level TXT files. These TXT files may either be

19 provided in a separate folder or included in the same folder as their corresponding

20 images. The number of TXT files per folder should be limited to 1,000 files.

21

22
           STIPULATION AND ORDER CONCERNING PRODUCTION OF
                ELECTRONICALLY STORED INFORMATION - 6
      Case 2:21-cv-00114-TOR     ECF No. 84      filed 12/15/23   PageID.991 Page 7 of 17




 1                c.    Parent-Child Relationships. For email collections, if

 2 responsive, the parent-child relationships (the association between emails and

 3 attachments) should be preserved and produced as full families except when

 4 withheld on privilege grounds or when production as full families is precluded by

 5 technical or processing issues. If any one member of a family is responsive, the

 6 entire family shall be produced. Email attachments should be consecutively

 7 produced with the parent email record.

 8                d.    Dynamic Fields. Documents with dynamic fields for file

 9 names, dates, and times will be processed to show the field code (e.g.,

10 “[FILENAME]” or “[AUTODATE]”), rather than the values for such fields

11 existing at the time the file is processed.

12                e.    Non-redacted Word Processing Files. All word processing

13 files, including without limitation Microsoft Word files, that do not require

14 redactions, will be produced as *.tiff images showing track changes and

15 comments. Upon a showing of reasonable and particular need, a producing party

16 shall produce a native version of requested files.

17                f.    Non-redacted Spreadsheet Files. Spreadsheet files, including

18 without limitation Microsoft Excel files, that do not require redactions will be

19 produced as native files showing comments and similar data. Additionally a Bates-

20 stamped *.tiff placeholder matching the Bates number of the native file, must be

21 included in the production and reflected in the image load file.

22
            STIPULATION AND ORDER CONCERNING PRODUCTION OF
                 ELECTRONICALLY STORED INFORMATION - 7
      Case 2:21-cv-00114-TOR     ECF No. 84     filed 12/15/23   PageID.992 Page 8 of 17




 1               g.     Presentation Files. Presentation files, including without

 2 limitation Microsoft PowerPoint files, will be produced as native files showing

 3 comments, hidden slides, speakers’ notes, and similar data. A UNC file path must

 4 be included in the ESI load file. Additionally a bates-stamped *.tiff placeholder

 5 matching the bates number of the native file, must be included in the production

 6 and reflected in the image load file. The Parties will meet and confer regarding

 7 production of presentation files with alternate default settings.

 8               h.     Collaboration Tools. The Parties will meet and confer to

 9 regarding the production format of unstructured communication and collaboration

10 tool data.

11               i.     Embedded Files. Embedded files and internally linked files are

12 produced as independent document records. Embedded files should be assigned

13 Bates numbers that directly follow the Bates numbers on the documents within

14 which they are embedded.

15               j.     Structured Data. If responding to a discovery request requires

16 production of structured data, the producing Party may comply with the discovery

17 request by generating a report in a reasonably usable and exportable electronic

18 format (for example, .xls or .csv format).

19               k.     Time Zone. Unless otherwise agreed, all dynamic date and

20 time fields, where such fields are processed to contain a value, and all metadata

21 pertaining to dates and times will be standardized to Pacific Time. The Parties

22
            STIPULATION AND ORDER CONCERNING PRODUCTION OF
                 ELECTRONICALLY STORED INFORMATION - 8
     Case 2:21-cv-00114-TOR      ECF No. 84    filed 12/15/23   PageID.993 Page 9 of 17




 1 understand and acknowledge that such standardization affects only dynamic fields

 2 and metadata values and does not affect, among other things, dates and times that

 3 are hardcoded text within a file. Dates and times that are hard-coded text within a

 4 file (for example, in an email thread, dates and times of earlier messages that were

 5 converted to body text when subsequently replied to or forwarded; and in any file

 6 type, dates and times that are typed as such by users) will be produced as part of

 7 the document text in accordance with Concordance and Summation formats,

 8 below.

 9               l.      Bates Numbering. Files will be named according to the Bates

10 number of the corresponding *.tiff image. The Bates number will:

11                      i.     be consistent across the production;

12                     ii.     contain no special characters; and

13                    iii.     be numerically sequential within a given document.

14               Attachments to documents will be assigned Bates numbers that

15 directly follow the Bates numbers on the documents to which they were attached.

16 If a Bates number or set of Bates numbers is skipped, the skipped number or set of

17 numbers will be noted. In addition, wherever possible, each *.tiff image will have

18 its assigned Bates number electronically “burned” onto the image.

19               m.      Load File Formats. ESI will be produced in standard

20 Concordance load file format and an image file that is in .OPT format.

21

22
            STIPULATION AND ORDER CONCERNING PRODUCTION OF
                 ELECTRONICALLY STORED INFORMATION - 9
     Case 2:21-cv-00114-TOR     ECF No. 84     filed 12/15/23   PageID.994 Page 10 of 17




 1               n.     Metadata to be Produced. Metadata to be produced: The

 2 following metadata fields should be produced for each document to the extent that

 3 such information is reasonably accessible at the time of collection and processing,

 4 except that if a field contains privileged information, that privileged information

 5 may be redacted and noted in a corresponding privilege log. All requests should be

 6 read to include a request for all metadata associated with all documents responsive

 7 to the request.

 8     FIELD NAME                     DESCRIPTION                    CATEGORY
     BEGDOC                     Starting Bates                   Hardcopy, edoc, email
 9                                                               and attachment

10   ENDDOC                     Ending Bates                     Hardcopy, edoc, email
                                                                 and attachment
11
     CUSTODIAN                  Custodial or non-custodial       Hardcopy (if coded),
12                              source(s) from which the         edoc, email and
                                document was collected           attachment (populated
13                                                               through processing)

14   ALL CUSTODIANS             Custodial source(s) from         Edoc, email and
                                which document was               attachment (populated
15                              collected but subsequently       through processing)
                                suppressed as a duplicate
16                              during processing.

17   FAMILYIDOR                 Family (Range of Bates           Hard copy, edoc, emails
     ATTACHID                   related documents (i.e.,         and attachments
18                              email & attachment) - this       (populated through
                                field will be populated for      processing)
19                              all records in the family),
                                and will distinguish parent
20                              documents from
                                attachments.
21

22
           STIPULATION AND ORDER CONCERNING PRODUCTION OF
                ELECTRONICALLY STORED INFORMATION - 10
     Case 2:21-cv-00114-TOR   ECF No. 84     filed 12/15/23   PageID.995 Page 11 of 17




 1     FIELD NAME                   DESCRIPTION                     CATEGORY
     PRPERTIES OR             Record type – examples           Populated through
 2   RCRDTYPE                 include                          processing
                              “email,” “attachment,”
 3                            “edoc,” or
                              “hardcopy.”
 4
     FROM                     Email Author                     Emails (populated
 5                                                             through processing)

 6   TO                       Recipient                        Emails (populated
                                                               through processing)
 7
     CC                       CC field - In the event of       Emails (populated
 8                            emails                           through processing)

 9   BCC                      Bcc field - in the event of      Emails (populated
                              emails                           through processing)
10
     DOCTITLE                 Document                         Hardcopy (if coded),
11                            Title/name/subject of the        edoc (including email)
                              original native file as it       or attachment
12                            existed at the time of           (populated through
                              collection.                      processing)
13
     DOCDATE                  Document Date/Date Sent,         Email and Attachments
14                            format MM/DD/YYYY,
                              this is the SORT_DATE
15                            field, so populate across
                              families
16   DATESENT                 Email Sent Date, format          Emails (populated
                              MM/DD/YYYY                       through processing)
17
     TIMESENT                 Time sent, format 00:00:00       Emails (populated
18                            AM/PM                            through processing)
19   DATECREATED              Date first created, format       Edoc or attachment
                              MM/DD/YYYY                       (populated through
20                                                             processing)
21

22
           STIPULATION AND ORDER CONCERNING PRODUCTION OF
                ELECTRONICALLY STORED INFORMATION - 11
     Case 2:21-cv-00114-TOR   ECF No. 84    filed 12/15/23    PageID.996 Page 12 of 17




 1     FIELD NAME                  DESCRIPTION                      CATEGORY
     DATESVD                  Date last saved/modified,        Edoc or attachment
 2                            format MM/DD/YYYY                (populated through
                                                               processing)
 3
     TIMESVD                  Time saved, format               (populated through
 4                            00:00:00 AM/PM                   processing)

 5   PAGECOUNT                Document page count              Edoc or attachment
                                                               (populated through
 6                                                             processing)

 7   APPLICAT                 Application used to open         Electronic files and/or
                              the file (Word, Powerpoint,      emails, attachments
 8                            Adobe, Excel, Explorer,          (populated through
                              Quicken, etc.)                   processing)
 9
     FOLDERID OR    File path/folder structure of              Electronic files and/or
10   ORIGFOLDERPATH original native file as it                 emails, attachments
     OR FILEPATH    existed at                                 (populated through
11                  the time of collection.                    processing)

12                            i.e. path of email in mailbox
                              (populate for email
13                            attachments also); filepath
                              of edocs or scanned
14                            documents (if requested)

15

16

17

18

19

20

21

22
          STIPULATION AND ORDER CONCERNING PRODUCTION OF
               ELECTRONICALLY STORED INFORMATION - 12
     Case 2:21-cv-00114-TOR   ECF No. 84    filed 12/15/23    PageID.997 Page 13 of 17




 1     FIELD NAME                   DESCRIPTION                     CATEGORY
     ALL FILEPATHS            File path/folder structure of    Electronic files and/or
 2                            original native file as it       emails, attachments
                              existed at                       (populated through
 3                            the time of collection but       processing).
                              subsequently removed as a
 4                            duplicate.

 5                            i.e. path of email in mailbox
                              (populate for email
 6                            attachments
                              also); filepath of edocs or
 7                            scanned
                              documents (if requested)
 8                            when
                              duplicate copies were
 9                            suppressed
                              during processing.
10
     DOCLINK or               Active link reflecting           Electronic files and/or
11   NATIVEFILE               current filepath back to the     emails, attachments
                              native file                      (populated through
12                                                             processing and only
                                                               provided if receiving
13                                                             native files.)

14   FILEEXTEN       In the event of attachments               Electronic files and/or
                     or emails, this will enable               emails, attachments
15                   us to search by document                  (populated through
                     type. Sample contents:                    processing)
16                   PST, MSG, PDF, DOC,
                     PPT, HTM, etc.
17   FILESIZE        Numerical file size, in                   Electronic files and/or
                     bytes, of any natively-                   edocs (populated
18                   produced documents.                       through processing)
     CONFIDENTIALITY Confidentiality Designation               All files and documents,
19                                                             as applicable.

20

21

22
          STIPULATION AND ORDER CONCERNING PRODUCTION OF
               ELECTRONICALLY STORED INFORMATION - 13
     Case 2:21-cv-00114-TOR      ECF No. 84   filed 12/15/23   PageID.998 Page 14 of 17




 1      FIELD NAME                     DESCRIPTION                   CATEGORY
      AUTHOR                    In the event of attachments,    For Hard Copy
 2                              this field contains the         documents (if coded)
                                ‘author’ of the document        or electronic files
 3                                                              and/or attachments
                                                                (populated through
 4                                                              processing)

 5    HASH                      MD5 Hash value for de-          Electronic files and/or
                                dupe                            attachments (populated
 6                                                              through processing)

 7
           9.     Production Format for Hard Copy Documents. Hard copy documents
 8
     will be scanned and processed as *.tiff images with OCR. To the extent this
 9
     production format is not feasible or causes the producing Party undue burden, the
10
     Parties agree to meet and confer to discuss the different form of production.
11
           10.    Encryption. To maximize the security of information in transit, any
12
     media on which documents are produced may be encrypted by the producing Party.
13
     In such cases, the producing Party shall transmit the encryption key or password to
14
     the requesting Party, under separate cover, contemporaneously with sending the
15
     encrypted media.
16
           11.    Costs. The Parties agree each Party shall bear the cost of its own
17
     production. In the event, however, a Party requests the production of cumulative
18
     or repetitive information or information that otherwise imposes an undue burden,
19
     or is from a source that is not reasonably accessible due to undue burden or cost,
20
     the producing Party may object. Upon objection, the Parties shall work in good
21
     faith to resolve the issue, for instance by producing samples or summaries of such
22
            STIPULATION AND ORDER CONCERNING PRODUCTION OF
                 ELECTRONICALLY STORED INFORMATION - 14
     Case 2:21-cv-00114-TOR     ECF No. 84    filed 12/15/23   PageID.999 Page 15 of 17




 1 documents. In the event the Parties are unable to resolve their differences, the

 2 Parties may proceed consistent with the Federal Rules of Civil Procedure,

 3 including Rule 26(b)(2), and any applicable Local Rules.

 4          12.   “Meet and Confer” Obligations; Motions to Compel and/or Motion

 5 for Protective Order. If any formatting requirements or other specifications agreed

 6 to in this Protocol are later determined by the producing Party to be infeasible,

 7 unduly burdensome, or unduly costly, the Parties shall meet and confer to resolve

 8 any disagreements. Further, the Parties will not file any motion to compel

 9 compliance with, or enforcement of, this Protocol, or a motion for a protective

10 order, until their “meet and confer” efforts have been satisfied under any applicable

11 rules.

12          13.   No Effect on Discovery or Admissibility. This Protocol does not

13 address, limit, or determine the relevance, responsiveness, or admissibility of ESI.

14 Nothing in this Protocol shall be construed to affect the admissibility of any

15 document or data. All objections to the admissibility of any document or data are

16 preserved and may be asserted at any time.

17          14.   Protective Order. Nothing in this Protocol shall be deemed to limit,

18 modify, or override any provision of a confidentiality or protective order signed by

19 the Parties and entered by the Court in this matter. In the event of any conflict

20 between this Protocol and an entered protective order, the provisions of the latter

21 shall govern.

22
            STIPULATION AND ORDER CONCERNING PRODUCTION OF
                 ELECTRONICALLY STORED INFORMATION - 15
     Case 2:21-cv-00114-TOR    ECF No. 84   filed 12/15/23   PageID.1000 Page 16 of 17




 1        15.    Applicability To Previously Produced Documents. This Protocol does

 2 not apply to documents either party has previously produced. For the avoidance of

 3 doubt, nothing in this Protocol requires either party to reproduce documents that

 4 the party has previously produced to comply with this Protocol.

 5
          Dated and entered this 15th day of December 2023.
 6
          BY THE COURT:
 7
                                                 ____________________________
 8                                               HON. THOMAS O. RICE

 9
          APPROVED:
10
     OUTTEN & GOLDEN LLP                         GREENBERG TRAURIG, LLP
11
     /s/ Michael J. Scimone                      /s/ Naomi Beer
12   Michael J. Scimone*                         Naomi G. Beer

13   Attorney for Plaintiff                      Attorney for Defendants

14   MICHAEL J. SCIMONE                          DOMINIC E. DRAYE (AZ Bar No.
     OUTTEN & GOLDEN LLP                         033012)
15   685 Third Avenue, 25th Floor                Admitted Pro Hac Vice
     New York, New York 10017                    GREENBERG TRAURIG, LLP
16   Telephone: (212) 245-1000                   2375 East Camelback Road, Suite 700
     E-mail: mcsimone@outtengolden.com           Phoenix, Arizona 85016
17                                               Telephone: (602) 445-8000
     Ryan Cowdin*                                E-mail: drayed@gtlaw.com
18   OUTTEN & GOLDEN LLP
     1225 New York Ave. NW, Suite 1200B          NAOMI G. BEER (CO Bar No. 29144)
19   Washington, DC 20005                        Admitted Pro Hac Vice
     Tel: (202) 847-4400                         GREENBERG TRAURIG, LLP
20   Facsimile: (202) 847-4410                   1144 15th Street, Suite 3300
     Email: rcowdin@outtengolden.com             Denver, Colorado 80202
21                                               Telephone: (303) 572-6500

22
           STIPULATION AND ORDER CONCERNING PRODUCTION OF
                ELECTRONICALLY STORED INFORMATION - 16
     Case 2:21-cv-00114-TOR   ECF No. 84   filed 12/15/23   PageID.1001 Page 17 of 17




 1   THOMAS G. JARRARD (WSBA #39774)            Facsimile: (303) 572-6540
     LAW OFFICE OF THOMAS G.                    E-mail: beern@gtlaw.com
 2   JARRARD, PLLC
     1020 N. Washington Street.                 SALLY W. HARMELING
 3   Spokane, Washington 99201                   (WSBA No. 49457)
     Telephone: (425) 239-7290                  JACOB M. KNUTSON
 4   E-mail: tjarrard@att.net                    (WSBA No. 54616)
                                                JEFFERS, DANIELSON,
 5   MATTHEW Z. CROTTY (WSBA                     SONN & AYLWARD, P.S.
     #39284)                                    2600 Chester Kimm Road
 6   RIVERSIDE LAW GROUP PLLC                   P.O. Box 1688
     905 W. Riverside Ave., Suite 404           Wenatchee, WA 98807-1688
 7   Spokane, WA 99201                          Telephone: (509) 662-5685
     Telephone: (509) 850-7011                  Facsimile: (509) 662-2452
 8   E-mail: mzc@riverside-law.com              E-mail: sallyh@jdsalaw.com
                                                E-mail: jacobk@jdsalaw.com
 9   R. JOSEPH BARTON
     BARTON & DOWNES LLP
10   1633 Connecticut Ave. NW, Suite 200
     Washington, D.C. 20009
11   Telephone: (202) 734-7046
     E-mail: jbarton@bartondownes.com
12
     PETER ROMER-FRIEDMAN*
13   PETER ROMER-FRIEDMAN LAW
     PLLC
14   1629 K Street, NW, Suite 300,
     Washington, D.C. 20006
15   Telephone: (718) 938-6132
     E-mail: peter@pfg-law.com
16
     Robert D. Friedman*
17   GUPTA WESSLER PLLC
     2001 K Street NW, Suite 850
18   Washington, DC 20006
     Telephone: (914) 588-4713
19   robert@guptawessler.com

20

21

22
           STIPULATION AND ORDER CONCERNING PRODUCTION OF
                ELECTRONICALLY STORED INFORMATION - 17
